        3:19-cr-30067-RM-TSH # 41         Page 1 of 2                                         E-FILED
                                                                    Monday, 27 April, 2020 10:12:11 AM
                                                                         Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

UNITED STATES OF AMERICA                   )
                                           )
                       Plaintiff,          )
                                           )
       vs.                                 ) NO. 19-cr-30067-2
                                           )
WILLIE HEDDEN,                             )
                                           )
                       Defendant.          )

                                    MOTION TO CONTINUE

       NOW COMES Defendant, WILLIE HEDDEN, by and through his attorneys, Mark

Kevin Wykoff and James E. Elmore, and for his Motion to Continue states as follows:

       1.      This matter is set before this Honorable Court for Initial Pretrial

Conference on April 29, 2020, at 9:00 a.m. and for Trial on May 12, 2020, at 10:00 a.m.

       2.       The parties are continuing to work on a resolution of this matter with the

Government and the parties need additional time to do so.

       3.      Counsel for the Defendant, James E. Elmore, has consulted with

Assistant United States Attorney Timothy A. Bass, representing the Government, and

he has no objection to a continuance of this matter.

       4.      This continuance is not being sought for the purpose of delay but in the

interest of justice.

       WHEREFORE, Defendant, WILLIE HEDDEN, prays this Court continue the

Initial Pretrial Conference scheduled on April 29, 2020, at 9:00 a.m. and the Trial

scheduled on May 12, 2020, at 10:00 a.m. to a date convenient for all parties in excess


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of at least sixty (60) days and for such other and further relief as this Court deems just

and equitable.


                                                  WILLIE HEDDEN, Defendant
                                          BY:     s/ James E. Elmore
                                                  James E. Elmore
                                                  Attorney For Defendant
                                                  ELMORE & REID
                                                  808 South Second Street
                                                  Springfield, IL 62704
                                                  Telephone: 217/523-2340
                                                  Fax:           217/523-2549


                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 27, 2020, I electronically filed the foregoing
document with the Clerk of the Court, using the CM/ECF system, which will send
notification of such filing to the following:

       Mr. Timothy A. Bass
       Assistant U.S. Attorney
       Central District of Illinois
       318 South 6th Street
       Springfield, IL 62701

7and I hereby certify that on April 24, 2020, I have mailed by United States Postal
Service, the foregoing document to the following non-CM/ECF participant(s):

       Mr. WILLIE HEDDEN
                                          s/ James E. Elmore
                                          James E. Elmore
                                          Attorney For Defendant
                                          ELMORE & REID
                                          808 South Second Street
                                          Springfield, IL 62704
                                          Telephone: 217/523-2340
                                          Fax:           217/523-2549
                                          E-mail: elmoreandreid@sbcglobal.net




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